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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9          UNITED STATES OF AMERICA,                          CASE NO. CR17-0111-JCC
10                              Plaintiff,                     ORDER
11                   v.

12              JESSICA L. ASHBY,

13                              Defendant.
14

15          This matter comes before the Court on Defendant Jessica Ashby’s objection (Dkt. No.
16   53) to the denial by the Honorable James P. Donohue, United States Magistrate Judge (Dkt. No.
17   51) of her motion to reopen the detention hearing (Dkt. No. 35). Having thoroughly considered
18   the parties’ briefing and the relevant record, the Court finds oral argument unnecessary and
19   OVERRULES Ashby’s objection for the reasons explained herein.
20   I.     BACKGROUND
21          On April 8, 2017, Judge Donohue ordered Ashby detained pending trial. (Dkt. No. 17.)
22   Judge Donohue noted that Ashby has ongoing mental health and substance abuse issues; has no
23   real support structure in her life; has a history of failures to appear; has ties to Mexico; and
24   engaged in drug trafficking even after her arrest on state drug charges. (Id. at 1-2.) He concluded
25   that “no conditions or combination of conditions other than detention . . . would reasonably
26   assure the appearance of defendant as required or ensure the safety of the community.” (Id. at 2.)



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 1          On June 8, Ashby brought a motion under 18 U.S.C. § 3142(f) seeking to reopen the

 2   detention hearing. (Dkt. No. 35.) Ashby alleged that she was overcoming her methamphetamine

 3   addiction, wished to complete a 26-day drug treatment plan, and would move in with her aunt in

 4   Lake Stevens. (Id. at 1-2.) Ashby also noted that she had learned that her current pregnancy was

 5   high-risk due to a condition called placenta previa. (Id. at 2.)

 6          Judge Donohue ordered the parties to supplement the record regarding the ability of the

 7   Federal Detention Center (FDC) to manage Ashby’s high-risk pregnancy. (Dkt. No. 41 at 1-2.)

 8          At the hearing, Judge Donohue stated that he would not reexamine the issues of

 9   community safety and Ashby’s previous failures to appear. (See Dkt. No. 56, Exhibit 1)

10   (recording of detention hearing). Instead, he limited his consideration to the issue of whether the

11   FDC could appropriately manage Ashby’s pregnancy. (Id.) The parties presented argument on

12   this issue. (Id.) Judge Donohue ultimately concluded that the FDC could provide adequate

13   medical care and denied Ashby’s motion to reopen the detention hearing. (Id.)

14          Ashby now objects to that denial. (Dkt. No. 53.)

15   II.    DISCUSSION

16          A.        Standard of Review

17          A district judge may refer any non-dispositive matter for a magistrate judge to determine.

18   Fed. R. Crim. P. 59(a). A party may object to a magistrate judge’s order. Id. The district judge
19   must consider such objections and set aside any part of the order that is contrary to law or clearly

20   erroneous. Id.

21          B.        Analysis

22          Ashby maintains that Judge Donohue committed error by refusing to reassess the 18

23   U.S.C. § 3142(g) release factors except for the FDC’s ability to provide adequate medical care

24   regarding Ashby’s pregnancy. (Dkt. No. 53 at 3.) Ashby alleges that, “[u]nder 18 U.S.C.

25   § 3142(f)(2), the court was required to consider all of the defendant’s newly offered information”

26   to determine whether it was new and material. (Id.)



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 1          However, Ashby does not show that § 3142(f)(2) places such a mandate on the Court.

 2   This provision states that “the hearing may be reopened . . . if the judicial officer finds that [new

 3   and material] information exists.” 18 U.S.C. § 3142(f)(2) (emphasis added). The permissive

 4   language indicates that the Court is not required to consider the information or even to reopen the

 5   hearing if it makes such a finding. Cf. United States v. Rodgers, 461 U.S. 677, 706 (1983) (“The

 6   word ‘may,’ when used in a statute, usually implies some degree of discretion[, but t]his

 7   common-sense principle of statutory construction . . . can be defeated by indications of

 8   legislative intent to the contrary or by obvious inferences from the structure and purpose of the

 9   statute.”); United States v. Ranes, 48 F.2d 582, 584 (9th Cir. 1931) (reasoning that “the word

10   ‘may’ is usually permissive, not mandatory,” especially when contrasted with the word “shall”).

11          Section 3142 uses the word “shall” in other sub-provisions, further suggesting that

12   § 3142(f)(2) is permissive. See, e.g., 18 U.S.C. § 3142(a) (“Upon the appearance before a

13   judicial officer of a person charged with an offense, the judicial officer shall issue an order that,

14   pending trial, the person be [released or detained].”); 18 U.S.C. § 3142(g) (“The judicial officer

15   shall, in determining whether there are conditions of release that will reasonably assure the

16   appearance of the person as required and the safety of any other person and the community, take

17   into account the available information concerning [the following] . . . .”). Ashby cites no

18   authority to show otherwise. She does not demonstrate that Judge Donohue’s decision was
19   contrary to law or clearly erroneous.

20          Thus, the Court concludes that Judge Donohue properly limited the issues when

21   determining whether to reopen the detention hearing. His conclusion that the FDC could provide

22   adequate medical care is supported by the record. His decision stands.

23   III.   CONCLUSION

24          For the foregoing reasons, Ashby’s objection (Dkt. No. 53) is OVERRULED. The Court

25   AFFIRMS Judge Donohue’s denial of her motion to reopen the detention hearing.

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 1          DATED this 22nd day of August, 2017.




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                                                   John C. Coughenour
 5                                                 UNITED STATES DISTRICT JUDGE
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